Case: 1:11-cv-07259 Document #: 98 Filed: 05/11/12 Page 1 of 14 PageID #:3184



                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


CALDERA PHARMACEUTICALS, INC.,                   )
                                                 )
                      Plaintiff,                 )
                                                 )
      v.                                         )
                                                 )    No. 11 C 7259
THE REGENTS OF THE UNIVERSITY OF                 )
CALIFORNIA; LOS ALAMOS NATIONAL                  )
SECURITY, LLC; and DOES 1 through                )
50,                                              )
                                                 )
                      Defendants.                )
                                                 )

                     MEMORANDUM OPINION AND ORDER

      In September 2005, plaintiff Caldera Pharmaceuticals,

Inc. (“Caldera”) entered into a patent licensing agreement

(“License Agreement”) with the Regents of the University of

California (“Regents”), which later assigned the License

Agreement     to   defendant    Los    Alamos    National   Security    LLC

(“LANS”). Currently before me is Caldera’s motion to remand.

For all the reasons that follow, that motion is granted.

      Caldera      alleges   that     the   License   Agreement    granted

Caldera an exclusive license to multiple patent rights related

to technology, apparatuses and methods for detecting binding

using micro x-ray fluorescence.             On or around April 25, 2006,

the Regents assigned the License Agreement, and all of the

rights, duties and obligations associated with it, to LANS.
Case: 1:11-cv-07259 Document #: 98 Filed: 05/11/12 Page 2 of 14 PageID #:3185



Prior to executing the License Agreement, Caldera relied upon

multiple representations that defendants were the lawful

owners of the subject patent rights.              However, according to

Caldera, defendants did not own the rights that were sold to

Caldera pursuant to the License Agreement, a fact that Caldera

did not discover until it had invested millions of dollars in

the technology, and paid defendants millions of dollars in

fees,   royalties     and    equity    payments   for    these   exclusive

rights.       Further,      as   a   result,   Caldera    was    unable   to

consummate certain lucrative contractual relationships, one of

which was valued by defendants at over $600 million.                       In

addition, defendants have worked with Caldera’s competitors to

improperly utilize and profit from the technology that was

exclusively licensed to Caldera.

      This case was filed in state court in the Circuit Court

of Cook County.       Caldera explains that it filed this action

“in order to preserve its cause of action against The Regents,

which historically have taken great advantage of its Eleventh

Amendment immunity in federal court.”              Mem. at 1.      Shortly

thereafter, LANS removed this case to federal court.                      The

Regents communicated to LANS that it refused to join the

removal.     Caldera now seeks remand based both on procedural

and subject matter jurisdiction grounds.                I address each in

                                       2
Case: 1:11-cv-07259 Document #: 98 Filed: 05/11/12 Page 3 of 14 PageID #:3186



turn.

Procedural Arguments

        Caldera argues that removal was procedurally improper

because the Regents did not join in the removal.                       LANS

responds by arguing that Caldera’s argument is untimely, as

Caldera waited more than 30 days to raise this argument.                  In

reply, Caldera maintains that I should exercise estoppel and

order remand on procedural grounds.

        Motions for remand, based on procedural grounds, must be

filed within thirty days of removal.           28 U.S.C. § 1447(c) (“A

motion to remand the case on the basis of any defect other

than subject matter jurisdiction must be made within 30 days

after the filing of the notice of removal.”). The 30-day time

limit for motions to remand is strictly enforced to prevent

“shuttling of cases between state and federal court” and

“extended litigation that does no more than determine where

litigation shall proceed.”            In the Matter of Continental

Casualty Co., 29 F.3d 292, 295 (7th Cir. 1994).

        Here, LANS filed its Notice of Removal on October 13,

2011, setting November 12, 2011 as the deadline to file a

motion to remand.       Caldera, however, did not file its motion

until February 3, 2012.        Caldera argues that, in the interim,

there was a “confused slew of subsequent motions.”                        In

                                     3
Case: 1:11-cv-07259 Document #: 98 Filed: 05/11/12 Page 4 of 14 PageID #:3187



addition to a motion to dismiss, LANS filed a motion to stay

this action pending a decision from the California Court of

Appeals.     Judge Norgle, who presided over the case at that

time, set a briefing schedule on the motion to stay. On

November 11, 2011, one day before the remand deadline, the

parties stipulated to a stay pending a ruling on LANS’ motion

to stay.       LANS’ motion to stay was thereafter denied on

December 22, 2011. This decision terminated the effect of the

parties’ stipulation.         Thus, Caldera’s motion to remand was

due one day later, on December 23, 2011.                      Caldera waited

another 42 days to file its motion.

      In the interim, on November 29, 2011, LANS filed a motion

to disqualify Caldera’s counsel.             In addition, the Regents

also filed a motion to dismiss.                 Caldera asserts that on

December     12,    2011,     while   appearing         for    the   Regents’

presentment of its motion to dismiss, counsel for Caldera was

told by a clerk of the court that the court did not wish to

address substantive motions until after the disqualification

issue was resolved.

      Recognizing      that   it   did    not    meet    the    30-day   time

limitation, Caldera argues that the critical date for purposes

of § 1447 is not the date of the filing of the motion, but

rather the date that Caldera “communicated” its objections to

                                      4
Case: 1:11-cv-07259 Document #: 98 Filed: 05/11/12 Page 5 of 14 PageID #:3188



the removal to the court and LANS.              Caldera argues that it

should be permitted to seek remand because it alerted the

defendants and the court that it intended to seek remand.

Caldera points to various statements it made in documents (its

11/7/11 opposition to LANS’ motion to reassign, the parties’

11/11/11    stipulation,      and   two    December     2011   letters    to

defendants’ counsel) that it intended to seek remand.                     In

addition, on December 20, 2011, Caldera filed a “Statement”

with the court in response to the Regents’ presentment of its

motion to dismiss. Caldera’s main argument in the “Statement”

was that the parties had agreed to a stay pending the court’s

ruling on LANS’ motion to stay (related to the California

Appellate     Court’s    opinion),       and   that   the   Regents    were

violating that stipulation by seeking a briefing schedule on

its motion to dismiss.         Caldera went on to request that the

court set a briefing schedule for Caldera’s motion to remand.

      I am not convinced by Caldera’s reliance on Northern

California District Council of Laborers v. Pittsburg-Des

Moines Steel Co., 69 F.3d 1034, 1038 (9th Cir. 1995). In that

case, the party filed a timely motion to remand, but raised a

new argument in its reply brief.               The court held that the

argument raised in reply was not timely because it was raised

after the 30-day deadline had passed.                 That case does not

                                     5
Case: 1:11-cv-07259 Document #: 98 Filed: 05/11/12 Page 6 of 14 PageID #:3189



support Caldera’s novel position here that they should be

deemed to have met the 30-day deadline because they indicated

a desire to remand prior to the expiration of the deadline.

The only way for a party to properly preserve its right to

seek remand is to actually file a motion for remand.                  Here,

Caldera had until December 23, 2011 to do so.                When Caldera

did not receive a response from the court to its request in

the December 20, 2011 “Statement,” Caldera should have simply

filed its motion for remand at that time.

      Finally, I reject Caldera’s assertion that equitable

tolling is appropriate here.         I have reviewed the cases cited

by Caldera, none of which are from this circuit, and find them

quite distinguishable from the facts here.             Most of the cases

cited by Caldera involve scenarios where a party timely filed

a motion to remand, but had trouble with the court’s internal

computer docketing system.         In those cases, the court deemed

the motion filed on the day the party attempted to file the

motion, even though the motion was not docketed until shortly

thereafter.       Caldera has not put forward any cases which

support the exercise of equitable tolling here.1



      1
       I likewise reject Caldera’s assertion that it was the
court’s wish that it not file a motion to remand. Nothing
that Caldera points to provides evidence of this.

                                     6
Case: 1:11-cv-07259 Document #: 98 Filed: 05/11/12 Page 7 of 14 PageID #:3190



Subject Matter Jurisdiction

      28 U.S.C. § 1338(a) provides that federal district courts

have exclusive jurisdiction over actions “arising under any

Act of Congress relating to patents.”            The Supreme Court set

forth the test for determining whether a district court has

jurisdiction pursuant to § 1338(a) in Christianson v. Colt

Indus. Operating Corp., 486 U.S. 800 (1988).                 Jurisdiction

extends to those cases “in which a well-pleaded complaint

establishes either that federal patent law creates the cause

of action or that the plaintiff’s right to relief necessarily

depends on resolution of a substantial question of federal

patent law, in that patent law is a necessary element of one

of the well-pleaded claims.”          Christianson, 486 U.S. at 808-

09.   If the well-pleaded complaint presents multiple theories

supporting a claim, that claim “may not form the basis for

§ 1338(a) jurisdiction unless patent law is essential to each

of those theories.”          Id. at 810.2       If there are “reasons


      2
       I reject Caldera’s assertion that the Federal Circuit
has gone against the clear holding in Christianson. The two
cases LANS cites to – Davis v. Brouse McDowell, L.P.A., 596
F.3d 1355 (Fed. Cir. 2010) and Warrior Sports, Inc. v.
Dickinson Wright, P.L.L.C., 631 F.3d 1367 (Fed Cir. 2011) – do
not support this assertion at all. As LANS rightly points
out, the cases cited by Caldera merely stand for the
proposition that a district court may exercise supplemental
jurisdiction over related claims if one claim is indisputably
patent in nature.

                                     7
Case: 1:11-cv-07259 Document #: 98 Filed: 05/11/12 Page 8 of 14 PageID #:3191



completely unrelated to the provisions and purposes of [the

patent laws] why the [plaintiff] may or may not be entitled to

the relief it seeks . . . then the claim does not ‘arise

under’ those laws.”           Id.     The U.S. Supreme Court later

rephrased the Christianson test as a determination of whether

“a state-law claim necessarily raise[s] a stated federal

issue, actually disputed and substantial, which a federal

forum may entertain without disturbing any congressionally

approved      balance      of       federal    and     state      judicial

responsibilities.”       Grable & Sons Metal Prods., Inc. v. Darue

Eng’g & Mfg., 545 U.S. 308, 314 (2005).

      Caldera brings four causes of action, all based on state

law, against LANS and the Regents: (1) breach of contract;

(2) fraud; (3) breach of implied covenant of good faith and

fair dealing; and (4) fraudulent inducement.             These causes of

action all rest on the same three grounds: (1) the alleged

abandonment of patent applications and failure to notify

Caldera of the abandonment; (2) the alleged failure to file

timely foreign patent applications; and (3) the disclosure of

the licensed technology.            The parties dispute whether each

basis asserted by Caldera requires resolution of substantial

questions of federal patent law.

      Here, Caldera argues that it has multiple independent

                                      8
Case: 1:11-cv-07259 Document #: 98 Filed: 05/11/12 Page 9 of 14 PageID #:3192



theories for each claim which do not require resolution of any

question of federal patent law.                Because I agree that the

allegations concerning LANS’s failure to file foreign patent

applications, which underlay all of plaintiff’s causes of

action, do not require resolution of any question of U.S.

federal patent law, this case must be remanded to state court.

       Defendants’     failure     to       make   the    necessary     Patent

Cooperation     Treaty     (“PCT”)      filings,        and   the   subsequent

concealment     of   that    failure,        is    an    independent    ground

supporting each of its four causes of action.                  In its motion

to remand, Caldera asserts that defendants’ failure to file

these PCT filings does not require resolution of any question

of U.S. federal patent law. Conversely, defendants argue that

the issue of the foreign patent rights would, in fact, require

analysis of U.S. patent law.

       Caldera relies on Davis v. Brouse McDowell, L.P.A., 596

F.3d 1355, 1360 (Fed. Cir. 2010), for its argument that

because matters relating to the PCT involve issues of foreign

patent law, resolution of such issues do not “arise under”

federal patent law.        In Davis, an inventor brought an action

against her attorney alleging he committed malpractice by

failing to timely file a foreign patent application under the

PCT.    In particular, the inventor alleged that her attorney

                                        9
Case: 1:11-cv-07259 Document #: 98 Filed: 05/11/12 Page 10 of 14 PageID #:3193



failed to file three PCT applications, and also negligently

prepared and filed her U.S. patent application.                596 F.3d at

1359.      In discussing the attorney’s failure to file the

foreign patent applications, the court noted that it was

“undisputed” that the inventor’s “allegations relating to the

PCT application do not raise any issue of U.S. patent law.”

Id. at 1360. Caldera notes the similarities between Davis and

this case, and argues that defendants’ failure to file the PCT

applications in this case also “do not raise any issue of U.S.

patent law.”

        Having considered this case in light of Caldera’s “well

pleaded complaint,” I conclude that defendants’ failure to

timely file foreign patent applications under the PCT does not

raise a substantial question of U.S. patent laws. “[T]he fact

that patent issues are relevant under state contract law to

the resolution of a contract dispute “cannot possibly convert

a suit for breach of contract into one ‘arising under’ the

patent laws as required to render the jurisdiction of the

district court based on section 1338.”                 Speedco, Inc. v.

Estes, 853 F.2d 909 (Fed. Cir. 1988) (quoting Ballard Medical

Products v. Wright, 823 F.2d 527, 530 (Fed. Cir. 1987));

Scheiber v. Dolby Laboratories, Inc., 293 F.3d 1014 (7th Cir.

2002) (“[A] suit to enforce a patent licensing agreement does

                                     10
Case: 1:11-cv-07259 Document #: 98 Filed: 05/11/12 Page 11 of 14 PageID #:3194



not arise under federal patent law.”).               Resolving the state

law claims based on this theory will require a court to

resolve state law claims based on a contract in which patent

issues are only peripherally implicated.                While defendants

point to every conceivable way in which the U.S. patent laws

could      possibly    be   implicated    here,    Caldera’s    claim,    as

presented      in     the   complaint,    is   rather   straightforward:

defendants represented that they had secured certain foreign

rights, Caldera relied on these representations, and Caldera

was damaged when it turned out defendants had not secured the

foreign     patent     rights.     Many   of   the   arguments     made   by

defendants are based on arguments/issues not found in the

complaint.3         See Opp. at 20-21 (noting where there were

disputed issues between the parties).             While defendants argue

that Caldera would have to prove that the foreign rights would

have ultimately issued, that question itself does not raise a

“substantial” question of U.S. patent law, focusing as it does


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       Nor am I persuaded by defendants’ attempt to focus the
inquiry on their alleged failure to “timely” file the foreign
patent applications by listing off the sections of federal
patent law which determine whether a foreign patent
application is, in fact, timely.      The issue here is not
whether an admitted filing was, or was not, timely. Rather,
the issue is defendant’s failure to file the foreign patent
applications at all.   To the extent a court would have to
consult the U.S. patent laws on this issue, such an inquiry
would only be secondary to the main state law issues.

                                     11
Case: 1:11-cv-07259 Document #: 98 Filed: 05/11/12 Page 12 of 14 PageID #:3195



on foreign law, with any questions concerning U.S. patent law

secondary to the issues of foreign law.            Further, Caldera has

at least one theory of reliance damages which does not

requires a showing that the patents would have actually

issued.4      See Complaint ¶¶ 76, 88, 102, 112.5

       In addition, there are a number of additional reasons why

this case should proceed in state court.               First, any inquiry

implicating patent law is specific to the facts of this case.

Even if Caldera had to show that the foreign patents would

have       issued,   a   court’s   analysis     will    be   based    on   a

hypothetical situation with no precedential effect.               Further,


       4
       Given the fact that Caldera has at least one theory of
damages which would not require it to prove that the patents
would have actually issued, I reject LANS’ reliance on
Landmark Screens, LLC v. Morgan, Lewis, Bockius, LLP, __ F.3d
__, 2012 WL 1382855 (Fed. Cir. Apr. 23, 2012) and USPPA, Ltd.
v. Avery Dennison Corp., __ F.3d. __, 2012 WL 1292886 (Fed.
Cir. Apr. 17, 2012).
       5
        Defendants provide a single sentence about Helfgott &
Karas, P.C. v. Dickenson, 209 F.3d 1328, 1334-35 (Fed. Cir.
2000), which they claim stands for the proposition that
“determinations made pursuant to the PCT confer jurisdiction
under 1338(a).” Despite the fact that defendants failed to
present any discussion or analysis of this case, I reviewed
the case and find it factually distinguishable from the
instant case.     Unlike the distinct facts of this case,
Dickenson involved claims against the Commissioner of the
Patent and Trademark Office under the Administrative Procedure
Act, wherein the inventor alleged that the PTO Commissioner
“acted arbitrarily and capriciously” when he failed to allow
certain errors to be corrected in a patent application. 209
F.3d at 1335.

                                     12
Case: 1:11-cv-07259 Document #: 98 Filed: 05/11/12 Page 13 of 14 PageID #:3196



such a ruling will not serve to cause an invention to be

patented or strip a method or invention of its patent.

Because the potential federal issues require only application

of federal law to the specific facts of this case, the

resolution of those issues will not be controlling in numerous

other cases.

       The final reason why jurisdiction cannot be predicated on

§ 1338 is the removal statute’s strict presumption against

removal.     The removal statutes are “to be strictly construed

against removal and all doubts should be resolved in favor or

remand.”     Boyer v. Snap-On Tools Corp., 913 F.2d 108, 111 (3d

Cir. 1990). Despite defendants’ suggestion that a state court

judge could not handle the issues raised in this case, I

disagree. It is well-settled that state courts may adjudicate

patent law issues provided that they collaterally arise under

a cause of action over which the state court has subject

matter jurisdiction. Pratt v. Paris Gas Light & Coke Co., 168

U.S. 255, 259 (1897). In addition, the resolution of tort and

contract disputes have been traditionally under the purview of

the state courts.          If this court were to extend federal

jurisdiction to matters which only tangentially implicate

patent laws the traditional balance between federal and state

jurisdiction would be disrupted.

                                     13
Case: 1:11-cv-07259 Document #: 98 Filed: 05/11/12 Page 14 of 14 PageID #:3197



       In the end, because each of Caldera’s causes of action

can potentially be established by defendants’ failure to

secure foreign patent rights, each of Caldera’s claims has an

alternate theory that does not require a resolution of federal

patent law.      Thus, under Christianson, remand is appropriate

in this matter.

       Finally, I note that my decision to order remand in this

case is consistent with the recent opinion of the California

Appellate Court in Caldera Pharmaceuticals, Inc. v. Regents of

the University of California, et al., Case No. A129727, dated

4/24/12. In that case, which mirrors this one with respect to

the parties and the legal theories involved, the appellate

court reversed the lower court’s ruling and concluded that

there were no substantial issues of federal patent law in the

dispute between Caldera and the Regents/LANS.

         In conclusion, Caldera’s motion to remand [70] is

granted.     LANS’ request for further briefing is denied.               All

other pending motions [8, 18, 66] are denied as moot.

                                       ENTER ORDER:




                                      ____________________________
                                        Elaine E. Bucklo
                                   United States District Judge
Dated:       May 11, 2012

                                     14
